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11
12 Attorneys for Defendants THE AMBASSADOR
   GROUP, LLC and BRANDON M. WHITE
13
14                    IN THE UNITED STATES DISTRICT COURT
15         CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
16 DEL OBISPO YOUTH BASEBALL, INC.                Case No. 8:21-cv-00199
   d/b/a DANA POINT YOUTH
17                                                DEFENDANTS THE
   BASEBALL,
                                                  AMBASSADOR GROUP, LLC
18
             Plaintiffs,                          AND BRANDON M. WHITE’S
19                                                NOTICE OF SECOND MOTION
   vs.                                            AND SECOND MOTION TO
20
                                                  DISMISS FOR LACK OF
21 THE AMBASSADOR GROUP LLC d/b/a                 PERSONAL JURISDICTION OR,
   AMBASSADOR CAPTIVE SOLUTIONS,                  IN THE ALTERNATIVE, TO
22 et al.
                                                  TRANSFER
23
             Defendants.
                                                  Date:             June 7, 2021
24
                                                  Time:             1:30 p.m.
25                                                Courtroom:        10C
26                                                Amended Complaint Filed: April 9, 2021
27                                                Trial: December 6, 2022
28                                          -1-
           DEFENDANTS’ NOTICE OF SECOND MOTION AND SECOND MOTION TO DISMISS FOR LACK OF
                                PERSONAL JURISDICTION OR, IN THE ALTERNATIVE, TO TRANSFER
                                                                               8:21-CV-00199
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 1 TO PLAINTIFF AND PLAINTIFF’S ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTICE that on June 7, 2021 at 1:30 p.m. in Courtroom 10C
 3 of the United States District Court for the Central District of California, located at
 4 411 West 4th Street, Santa Ana, California, Defendants The Ambassador Group LLC
 5 (“Ambassador”) and Brandon M. White (“White”) hereby move to dismiss (“Motion”)
 6 the action against them for lack of personal jurisdiction, to transfer the action to the
 7 United States District Court for the Western District of Kentucky to cure the
 8 jurisdictional defect, or, in the alternative, to transfer the action to the United States
 9 District Court for the Western District of Kentucky for the convenience of the parties
10 and in the interest of justice.
11         PLEASE TAKE FURTHER NOTICE that, pursuant to the Hon. James V.
12 Selna’s emergency procedures, oral arguments on motions are currently vacated. The
13 emergency procedures further provide that the Court will continue to post tentative
14 rulings in the afternoon of the Court day prior to the scheduled hearing. It is therefore
15 anticipated that the Court will post at tentative ruling on the afternoon of June 4, 2021.
16 A party may file a request for hearing of no more than five pages no later than 5:00 p.m.
17 on June 8, 2021 stating why oral argument is necessary. If no request is submitted, then
18 the matter will be deemed submitted on the papers and the tentative will become the
19 order of the Court. If a request is submitted and granted, then the Court will advise the
20 parties when and how the hearing will be conducted.
21         This Motion is brought pursuant to Rule 12(b)(2) of the Federal Rules of Civil
22 Procedure, 28 U.S.C. Sec 1631, and 28 U.S.C. sec 1404. The motion is supported by
23 the accompanying memorandum of points and authorities, the declaration of White, and
24 the proposed order.
25         Pursuant to the provisions of Local Rule 7-3 of the United States District Court
26 for the Central District of California, before the filing of this Motion, the parties’
27
28                                            -2-
             DEFENDANTS’ NOTICE OF SECOND MOTION AND SECOND MOTION TO DISMISS FOR LACK OF
                                  PERSONAL JURISDICTION OR, IN THE ALTERNATIVE, TO TRANSFER
                                                                                 8:21-CV-00199
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 1 counsel met and conferred telephonically on March 5, 2021. As of the time of filing this
 2 Motion, the parties were unable to reach an agreement.
 3
 4 DATED: April 23, 2021                              CLAUSEN MILLER P.C.
 5
 6
                                                      BY:/s/Ian R. Feldman
 7                                                          Ian R. Feldman
 8
                                                      STOLL KEENON OGDEN PLLC
 9
10
11                                                    By: /s/Spencer K. Gray
12                                                           Culver V. Halliday
                                                             Spencer K. Gray
13
14                                                    Attorneys for Defendants
                                                      THE AMBASSADOR GROUP, LLC
15                                                    AND BRANDON M. WHITE
16   7304013.1

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                 DEFENDANTS’ NOTICE OF SECOND MOTION AND SECOND MOTION TO DISMISS FOR LACK OF
                                      PERSONAL JURISDICTION OR, IN THE ALTERNATIVE, TO TRANSFER
                                                                                     8:21-CV-00199
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 1                             CERTIFICATE OF SERVICE
 2        I am employed in the County of Orange, State of California. I am over the age
 3 of eighteen years and not a party to the within action; my business address is 17901 Von
   Karman Avenue, Suite 650, Irvine, California 92614.
 4

 5
            On April 23, 2021, I served the document(s) described below on all interested
     parties, as follows:
 6
                 DEFENDANTS THE AMBASSADOR GROUP, LLC
 7               AND BRANDON M. WHITE’S NOTICE OF SECOND
 8               MOTION AND SECOND MOTION TO DISMISS FOR
                 LACK OF PERSONAL JURISDICTION OR, IN THE
 9               ALTERNATIVE, TO TRANSFER
10
   [X] BY CM/ECF: I caused such document(s) to be served electronically pursuant to
11 the U.S. District Court’s Electronic Case Filing Program to be delivered electronically
12 to those parties who have registered to become an E-Filer.

13        I declare under penalty of perjury under the laws of the United States of America
   that the foregoing is true and correct and that this Certificate of Service was executed
14
   by me on April 23, 2021 in Irvine, California.
15

16
                                                /s/ Barbara Dorsey
17                                                Barbara Dorsey
18

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                                                                     CERTIFICATE OF SERVICE
                                                                               8:21-CV-00199
